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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

ROBERT CHUCHRAN, an
individual,

       Plaintiff,
                                                    Case No.: 17-cv-12213
vs.                                                 Hon. Avern Cohn
                                                    Mag. Stephanie Dawkins Davis
COUNTY OF MACOMB, a political
Subdivision of the State; and
ERIC SMITH, an individual, sued in
his official and personal capacity; and
KAREN BATHANTI, an individual,
sued in her official and personal
capacity

       Defendants.


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Deborah L. Gordon (P27058)           Thomas L. Fleury (P24064)
Benjamin I. Shipper (P77558)         Gouri G. Sashital (P64628)
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__________________________________________________________________
                PLAINTIFF’S MOTION TO COMPEL
     DEFENDANTS’ RESPONSES TO PLAINTIFF’S FIRST SET OF
         INTERROGATORIES AND REQUESTS TO PRODUCE
     2:17-cv-12213-AC-SDD      Doc # 15   Filed 10/31/17   Pg 2 of 27   Pg ID 102



        NOW COMES Plaintiff Robert Chuchran, by and through his attorneys,

Deborah Gordon Law, and for his Motion to Compel Defendants’ Responses to

Plaintiff’s First Set of Interrogatories and Requests to Produce states as follows:

        1.   This is an action against Defendants Macomb County, Eric Smith, and

Karen Bathanti for their violations of Plaintiff’s First Amendment and Due Process

rights by retaliating against Plaintiff for reporting Defendants’ violations of law.

        2.   While Plaintiff Robert Chuchran was an investigator for the Macomb

County Prosecutor’s Office, he reported that Defendants were violating Law

Enforcement Information Network (LEIN) laws and regulations by (among other

things) requesting unconstitutional arrest warrants for noncustodial parents,

claiming they had violated a child support order, even though no court order had

been violated.

        3.   This Motion is brought under Fed. R. Civ. P. 26 and 37 to compel

Defendants to answer and respond to Plaintiff’s First Set of Interrogatories and

Requests to Produce to Defendant (collectively, “Plaintiff’s Discovery”).

        4.   Plaintiff served his First Set of Discovery Requests on September 8,

2017.

        5.   On September 28, 2017, Defendants served their responsive pleading

to Plaintiff’s First Set of Discovery Requests, but they failed to substantively

respond to Plaintiff’s Requests to Produce 1 and 2.

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      6.     Request to Produce 1 requested that Defendants produce “copies of

the civil support summonses issued and served or attempted to be served by the

Macomb County Prosecutor’s Office from January 1, 2015 to January 31, 2015,

and from April 1, 2016 to April 31, 2016.” Ex. A, Defendants’ Responses to

Plaintiff’s First Set of Discovery Requests.

      7.     Request to Produce 2 requested that Defendants produce “copies of

Requests for Warrant Authorizations completed from January 1, 2015 to January

31, 2015, and from June 1, 2016 to June 31, 2016, by the Macomb County

Prosecutor’s Office for disorderly person nonsupport charges, pursuant to MCL

750.167(1)(A), after the civil child support summonses for the alleged defendant

expired.” See id.

      8.     As discussed in more detail in the Brief, the information requested in

Requests 1 and 2 is relevant for Plaintiff establishing that Plaintiff’s protected

speech about Defendants’ LEIN violations (including their practice of issuing false

arrest warrants for noncustodial parents after a civil summons expired) was a

motivating factor in Defendants’ adverse employment actions against Plaintiff.

See Rodgers v. Banks, 244 F.3d 587, 602 (6th Cir. 2003) (element of a plaintiff’s

prima facie case for First Amendment retaliation claim is that plaintiff’s protected

speech served as a “substantial or motivating factor” in the defendants’ adverse

employment action).

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      9.     On October 18, 2017, Plaintiff’s counsel contacted Defendants’

counsel via email requesting that Defendants supplement their responses to

Plaintiff’s Discovery Requests. Ex. B, Oct. 18, 2017 Email.

      10.    On October 20, 2017, Defendants’ counsel contacted Plaintiff’s

counsel by phone and stated that they would not agree to supplement their

responses to Requests 1 and 2.

      11.    Pursuant to the Court’s instructions, Plaintiff then contacted the Court

to schedule a phone call with the Court and Defendants’ counsel in an effort to

resolve this discovery dispute.

      12.    On October 25, 2017, the Court held a telephonic conference with the

parties (Dkt. #13) and permitted Plaintiff to pursue a Motion to Compel in order

for the Court to be able to fully review the discovery dispute between the parties.

      13.    Federal Rule of Civil Procedure 26(g)(1)(B)(ii) requires that a “with

respect to a discovery request, response, or objection, it is . . . not interposed for

any improper purpose, such as to harass, cause unnecessary delay, or needlessly

increase the cost of litigation.”

      14.    Fed. R. Civ. P. 37(a)(3)(B)(iv) states that “[a] party seeking discovery

may move for an order compelling an answer, designation, production, or

inspection” if “a party fails to produce documents.”




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       15.   Plaintiff has in good faith attempted to confer with counsel for

Defendants on this matter by promptly following up with Defendants after

Defendants failed to substantively respond to Plaintiff’s discovery requests.

       16.   The information sought in Requests to Produce 1 and 2 is directly

relevant for Plaintiff to establish his First Amendment retaliation claim and to

counter any of Defendants’ affirmative defenses to this claim. Moreover, the

documentation sought is easily accessed because while Plaintiff was employed for

the    Macomb      County     Prosecutor’s       Office     he   created     an    Excel

document/spreadsheet tracking the names of individuals for whom civil support

summonses were issued (and expired) and for whom arrest warrants for disorderly

person nonsupport charges were requested. Accordingly, Plaintiff’s requests are

relevant, narrowly tailored, and not burdensome.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter an Order compelling Defendants to answer and respond to Plaintiff’s First

Set of Interrogatories and Requests to Produce Documents to Defendants and

substantively respond to Requests 1 and 2, and enter costs and attorney fees for

preparing and appearing for this Motion.

Dated: October 31, 2017                        DEBORAH GORDON LAW
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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

ROBERT CHUCHRAN, an
individual,

       Plaintiff,
                                                    Case No.: 17-cv-12213
vs.                                                 Hon. Avern Cohn
                                                    Mag. Stephanie Dawkins Davis
COUNTY OF MACOMB, a political
Subdivision of the State; and
ERIC SMITH, an individual, sued in
his official and personal capacity; and
KAREN BATHANTI, an individual,
sued in her official and personal
capacity

       Defendants.


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__________________________________________________________________
                PLAINTIFF’S MOTION TO COMPEL
     DEFENDANTS’ RESPONSES TO PLAINTIFF’S FIRST SET OF
         INTERROGATORIES AND REQUESTS TO PRODUCE
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I.    RELEVANT FACTUAL BACKGROUND

      This is an action against Defendants Macomb County, Eric Smith, and

Karen Bathanti for their violations of Plaintiff’s First Amendment and Due Process

rights. While Plaintiff was an investigator for the Macomb County Prosecutor’s

Office, Plaintiff reported that Defendants were violating Law Enforcement

Information Network (LEIN) laws and regulations by (among other things)

requesting unconstitutional arrest warrants for noncustodial parents, claiming they

had violated a child support order, even though no court order had been violated.

      Under Michigan state law, custodial parents who receive public assistance

from the government are required to go to the Prosecutor’s Office to initiate a child

support case for a noncustodial parent.       Ex. I, Torey Dep. 57-58. Once the

custodial parent appears at the Prosecutor’s Office, the Office generates a civil

summons requiring the noncustodial parent to attend a child support interview,

during which an Assistant Prosecuting Attorney will meet with the noncustodial

parent to establish a child support payment plan that is submitted to the family

court judge for entry as a court order. See id. 57-58, 63. If a noncustodial parent is

later in violation of the child support order, he or she may be charged with

“disorderly person non-support,” under MCL 750.167(1)(A).               However, as

described in more detail below, Defendants have engaged and continue to

knowingly engage in unlawfully requesting arrest warrants for noncustodial

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parents for “disorderly person non-support” even though no child support order has

ever been entered.

       A.     Defendants maintain unlawful practice of requesting false arrest
              warrants.

       In December 2014, Defendants appointed Plaintiff the LEIN Termination

Agency Coordinator (“TAC”) for the Macomb County Prosecutor’s Office. The

next month, Plaintiff went to TAC training, which was hosted by the Michigan

State Police (MSP). Immediately upon returning from the training, Plaintiff alerted

his supervisors verbally and in writing about LEIN violations at the Prosecutor’s

Office. Ex. G, Keith Dep. 17:23–18:2; 48:8-11.1 Plaintiff also contacted a LEIN

Field Services officer from the MSP to report the violations.

       Among several other violations, Plaintiff reported that Defendants were

violating the law by engaging in what was essentially an unlawful arrest warrant

scam by requesting false criminal arrest warrants for “disorderly person non-

support,” under MCL 750.167(1)(A), for cases in which a civil child support

summonses had expired, a court had never entered an order requiring support

payment, and where the matter was entirely civil in nature. See, e.g., Compl. ¶ 23

(Dkt. #1). In order to be considered a “disorderly person” under MCL 750.167, a

parent must have been determined to be of “sufficient ability” to pay child support,

1
       This case has a unique posture as discovery has already been completed in the related
Macomb County state court case, where Plaintiff has alleged a violation of the Michigan
Whistleblower’s Protection Act.
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and consequently failed to pay that support. See MCL 750.167(1)(a). However, in

these cases, it was never determined whether the noncustodial parents even had

sufficient ability to pay.

       Defendants requested these false criminal arrest warrants for the unlawful

reason of serving a noncustodial parent with a civil child support summons. See

Ex. C, Kirshner Dep. 25:25-26:8. These false arrest warrants would be entered into

the LEIN system, and thus the LEIN system would be accessed improperly. Ex. D,

Chuchran Dep. 326:1-4. If the arrest was successful, Defendants would then serve

the noncustodial parent with the civil child support summons in court, and then

immediately dismiss the criminal charge before the court had the opportunity to

recognize Defendants’ unlawful acts. See Ex. C, Kirshner Dep. 25:25-26:8; Ex. E,

Langtry Dep. 95-96.

       The Prosecutor’s Office is motivated to request these false arrest warrants

for the sole purpose of ultimately serving the noncustodial parent with the civil

child support summons because the Office’s federal funding is tied to the

percentage of civil summonses successfully served. Ex. I, Torey Dep. 55:25-56:24.

If Defendants are unable to successfully serve the civil summonses, the funds they

receive from the federal government will decline. See id. In other words,

Defendants seek to have innocent citizens arrested for criminal charges on a basis

they know to be false in order to obtain or maintain grant funding.

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       B.     Defendants have admitted their LEIN violations date back
              decades.

       Defendants have admitted that they have been committing the LEIN

violations, which Plaintiff reported, for decades. Under Prosecutor Carl Marlinga,2

then-LEIN Terminal Agency Coordinator (TAC) Diane Shinska completed audit

forms for the State of Michigan inaccurately. Ex. D, Chuchran Dep. 19:4-10; Ex.

E, Langtry Dep. 19:13-16. Specifically, Plaintiff saw Ms. Shinska’s signature on

audit forms, on which she falsely attested that “all LEIN was pulled and shredded,

and in fact, they weren’t.” Ex. D, Chuchran Dep. 19:12-13.

       Chief of Operations for the Macomb County Prosecutor’s Office, James

Langtry, testified that for the past “29 years” the Prosecutor’s Office has been

obtaining false arrest warrants for “disorderly person non-support,” under MCL

750.167(1)(A), for cases in which a child support order has never been entered. Ex.

E, Langtry Dep. 95:12-96:20. Langtry acknowledged that the practice is not lawful

but said he “still ha[s] no problem with it whatsoever.” See id. Assistant

Prosecuting Attorney (APA) Beth Kirshner also confirmed that the false arrest




2
       As an aside, Plaintiff’s Macomb County Circuit Court companion case was initially
assigned to Judge Diane M. Druzinski. On January 1, 2017, Carl J. Marlinga became a Macomb
County Circuit Court judge, and Plaintiff’s case was transferred to Judge Marlinga. Plaintiff
filed a Motion for Recusal, given then-Prosecutor Marlinga’s personal history with the
Prosecutor’s Office and the LEIN issues Plaintiff reported. Judge Marlinga denied Plaintiff’s
Motion for Recusal. In a 2-1 vote, the Michigan Court of Appeals upheld Judge Marlinga’s
order.
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warrant practice is a carryover from the Marlinga era. Ex. C, Kirshner Dep. 46:6-

19.

       C.    Michigan State Police confirm that Defendants violate the law.

       Each time Defendants request the false arrest warrants described above, the

arrest warrant is entered in the LEIN system. Therefore, when a noncustodial

parent’s civil child support case is entered in the LEIN system through an unlawful

arrest warrant, LEIN is then subsequently run on those child support cases.

Elizabeth Canfield, LEIN policy analyst for the MSP, testified that it is unlawful

for Defendants to access LEIN on any civil cases – including civil support cases.

Ex. F, Canfield Dep. 13:11-13 (“Is it also illegal or against policy to access LEIN

for any civil purpose? A: Yes.”). Accordingly, in addition to requesting

unconstitutional arrest warrants, Defendants also violate LEIN laws every time

they request these false arrest warrants.

       D.    Defendants remove Plaintiff from TAC role in retaliation for
             LEIN reporting.

       Within 7 days of returning from TAC training in December 2014 and

reporting LEIN violations, Defendants removed Plaintiff as the TAC. Ex. D,

Chuchran Dep. 348:1-8. Defendants admit that they removed Plaintiff from TAC

because of his complaints. Ex. G, Keith Dep. 68-69 (removed because he alerted

Defendants “they were committing felonies because of the LEIN violations he

learned of”); Ex. H, Satterly Dep. 67:6-14 (removed because he “was arguing
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about of the LEINs that were being run in [the] paternity [division]” and his

complaints were a “disruption”). In fact, Chief Investigator Byron Satterly, called

Plaintiff a “LEIN Nazi.” See id. 104:12-22. For the next several months,

Defendants systematically restricted Plaintiff’s job duties. Plaintiff was no longer

permitted to assist with courtroom technology, assist with trials, or deliver OWI

forfeiture fund envelopes to police stations in the County. Ex. D, Chuchran Dep.

411:17-22; 421-22.     In further retaliation for Plaintiff reporting these LEIN

violations, Defendants suspended Plaintiff twice without pay, relocated Plaintiff to

a storage room and then a warehouse, and significantly changed his job duties.

See, e.g., Compl. ¶¶ 36, 39, 40, 53, 56, 57 (Dkt. #1). The working conditions

ultimately became unbearable, and Plaintiff was forced to retire in July 2016. Ex.

D, Chuchran Dep. 702:4-9.

II.    RELEVANT PROCEDURAL BACKGROUND

       Plaintiff served his First Set of Discovery Requests on September 8, 2017.

On September 28, 2017, Defendants served their responsive pleading to Plaintiff’s

First Set of Discovery Requests, but failed to substantively respond to Plaintiff’s

Requests to Produce 1 and 2. Request to Produce 1 requested that Defendants

produce “copies of the civil support summonses issued and served or attempted to

be served by the Macomb County Prosecutor’s Office from January 1, 2015 to

January 31, 2015, and from April 1, 2016 to April 31, 2016.” Ex. A, Defendants’

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Responses to Plaintiff’s First Set of Discovery Requests. Request to Produce 2

requested that Defendants produce “copies of Requests for Warrant Authorizations

completed from January 1, 2015 to January 31, 2015, and from June 1, 2016 to

June 31, 2016, by the Macomb County Prosecutor’s Office for disorderly person

nonsupport charges, pursuant to MCL 750.167(1)(A), after the civil child support

summonses for the alleged defendant expired.” See id.

       The information requested in Requests 1 and 2 is relevant for Plaintiff

establishing that Plaintiff’s protected speech about Defendants’ LEIN violations

(including their practice of issuing false arrest warrants for noncustodial parents

after a civil summons expired) was a motivating factor in Defendants’ adverse

employment actions against Plaintiff.      In addition, the information sought by

Plaintiff is directly relevant for establishing Plaintiff’s First Amendment retaliation

claim and to counter any of Defendants’ affirmative defenses. Moreover, the

documentation sought is easily accessed because while Plaintiff was employed for

the    Macomb      County     Prosecutor’s     Office      he   created     an   Excel

document/spreadsheet which the County used to track the names of individuals for

whom civil support summonses were issued (and expired) and for whom arrest

warrants for disorderly person nonsupport charges were requested. Accordingly,

Plaintiff’s requests are relevant, narrowly tailored, and not burdensome.




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III.    ANALYSIS

        A.    Standard of Review

        Defendants must be compelled to provide answers and responses to

Plaintiff’s Discovery requests. Federal Rule of Civil Procedure 26(g)(1)(B)(ii)

requires that a “with respect to a discovery request, response, or objection, it is . . .

not interposed for any improper purpose, such as to harass, cause unnecessary

delay, or needlessly increase the cost of litigation.” Fed. R. Civ. P. 37(a)(3)(B)(iv)

states that “[a] party seeking discovery may move for an order compelling an

answer, designation, production, or inspection” if “a party fails to produce

documents.”

        The scope of discovery under the Federal Rules of Civil Procedure is

traditionally quite broad. See Lewis v. ACB Bus. Servs., 135 F.3d 389, 402 (6th

Cir. 1998). Parties may obtain discovery on any matter that is not privileged and is

relevant to any party’s claim or defense if it is reasonably calculated to lead to the

discovery of admissible evidence. Fed. R. Civ. P. 26(b)(1). “Relevant evidence” is

“evidence having any tendency to make the existence of any fact that is of

consequence to the determination of the action more probable or less probable than

it would be without the evidence.” Fed. R. Evid. 401. Moreover, “‘[f]ull discovery

is particularly warranted where a case[, as here,] is based on federally-protected

civil rights.’” Oates v. Target Corp., No. 11-CV-14837, 2012 WL 4513731, at *4

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(E.D. Mich. Oct. 2, 2012), objections overruled, No. 11-14837, 2012 WL 6608752

(E.D. Mich. Dec. 18, 2012) (quoting Watts v. Kimmerly, No. 1:95-CV-279, 1996

WL 911254, at *2 (W.D. Mich. Apr. 12, 1996)).

      Here, Defendants refuse to produce documentation in response to Plaintiff’s

discovery requests regarding their unlawful conduct, for the seemingly sole

purpose of harassing Plaintiff to prevent him from obtaining relevant

documentation which is critical to establishing his claims.             Defendants are

desperate to prevent Plaintiff from being able to obtain documentation which

reveals and confirms their practice of requesting false arrest warrants.

      Below, Plaintiff outlines the documentation that he seeks to compel through

this Motion.

      B.       Requests 1 and 2: Civil Child Support Summonses and Requests
               for Warrant Authorization

      Defendants refused to produce (or provide for inspection) copies of the civil

child support summonses and requests for warrant authorization that Plaintiff

requested. One of Plaintiff’s claims in his Complaint is that Defendants retaliated

against Plaintiff for exercising his free speech rights when he complained about

Defendants’ unlawful use of the LEIN system by requesting arrest warrants for

noncustodial parents after civil summonses expire, but before a child support order

has ever been entered or breached. See Compl. ¶¶ 103-112 (Dkt. #1). As noted

above, in Request 1, Plaintiff requested that Defendants produce “copies of the
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civil support summonses issued and served or attempted to be served by the

Macomb County Prosecutor’s Office from January 1, 2015 to January 31, 2015,

and from April 1, 2016 to April 31, 2016.” Ex. A, Defendants’ Responses to

Plaintiff’s First Set of Discovery Requests. In Request 2, Plaintiff requested that

Defendants produce “copies of Requests for Warrant Authorizations completed

from January 1, 2015 to January 31, 2015, and from June 1, 2016 to June 31, 2016,

by the Macomb County Prosecutor’s Office for disorderly person nonsupport

charges, pursuant to MCL 750.167(1)(A), after the civil child support summonses

for the alleged defendant expired.”     See id.    In response to both requests,

Defendants objected stating that the requests were “overbroad, general, irrelevant,

and outside the scope of discoverable evidence under FRCP 26(b).” Id.

            1.     Plaintiff’s requests are narrowly tailored.

      Plaintiff’s requests were narrowly tailored. The requests clearly were not

overbroad or general, as Defendants erroneously state, because the requests were

limited to a specific set of documents for a very limited period of time. Plaintiff

limited the documentation sought to a two month period for both requests and

requested a narrow set of documents: (1) civil child support summonses issued and

served or attempted to be served; and (2) warrant authorization requests for

disorderly person nonsupport charges for individuals for whom a civil child

support summons expired.

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             2.    The documentation Plaintiff seeks is directly relevant for
                   establishing Plaintiff’s claims.

      Moreover, the civil support summonses and warrant authorization requests

are directly relevant to Plaintiff’s claims. First, Plaintiff intends to prove that

Defendants were in fact acting unlawfully by committing LEIN violations and by

requesting false arrest warrants for noncustodial parents after civil summonses

expired. Documentation demonstrating that Defendants requested false arrest

warrants, in cases where a noncustodial parent was never even served with a child

support summons and no child support order was ever entered, will be critical for

proving to the jury that Defendants were in fact acting unlawfully. The documents

requested will reflect this casual connection – i.e., noncustodial parents with

expired civil support summonses will have arrest warrants requests.

      Insofar as Defendants may argue that Plaintiff need not establish that

Defendants were in fact violating the law and may simply argue that Plaintiff had a

good faith belief that Defendants were violating the law, this argument fails.

Plaintiff intends to argue that Defendants were in fact violating the law, and cannot

be limited in how he presents this claim to the jury. In Ehrich v. Kovak, 135 F.

Supp. 3d 638, 646 (N.D. Ohio 2015), the plaintiff alleged First Amendment

retaliation, and claimed that she was retaliated against once she reported one of the

defendant’s unlawful misuse of public funds. The plaintiff in Ehrich alleged that

the defendant had in fact acted unlawfully, and her protected speech concerned that
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unlawful behavior. See id. The Ehrich plaintiff alleged that the defendant had

acted unlawfully (not just that she believed the behavior to be unlawful), and she

also alleged that the defendant had entered a plea of no contest to the first degree

misdemeanor charge of misuse of public funds. See id. Similarly, in this case,

Plaintiff alleges that Defendants acted unlawfully by repeatedly violating LEIN

laws and by unlawfully requesting arrest warrants and entering those unlawful

warrants into the LEIN system.       See, e.g., Compl. ¶¶      23, 26, 27 (Dkt. #1).

Accordingly, Plaintiff is entitled to set forward his case before a jury to show that

Defendants’ actions were in fact unlawful. In order to do so, Plaintiff is entitled to

documentation     demonstrating     how    Defendants      would    request   warrant

authorizations for noncustodial parents once their civil child support summonses

expired.

      Additionally, the documentation Plaintiff seeks will be critical for

demonstrating to the jury that Defendants had a motive to force Plaintiff out of the

Prosecutor’s Office, thereby ensuring that he no longer had access to tracking

Defendants’ arrest warrant requests and LEIN access. Defendants were terrified

and irritated by the prospect of Plaintiff further exposing their unlawful practices.

An element of Plaintiff’s prima facie case for his First Amendment retaliation

claim is that his protected speech was a “substantial or motivating factor” for

Defendants’ adverse employment actions against Plaintiff. See Rodgers v. Banks,

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244 F.3d 587, 602 (6th Cir. 2003). Documented proof of Defendants’ unlawful

practices, coupled with additional evidence demonstrating that Defendants were

incentivized to prevent further exposure of their unlawful practice, is critical for

establishing the requisite causal connection that Plaintiff must prove for his First

Amendment retaliation claim. See Cockrel v. Shelby Cnty. School Dist., 270 F.3d

1036, 1058-60 (6th Cir. 2001) (plaintiff’s evidence demonstrating casual

connection was sufficient for plaintiff to survive summary judgment for First

Amendment retaliation claim). Accordingly, the documentation Plaintiff seeks is

directly relevant for establishing his prima facie case. Defendants, however, have

refused to produce the documentation requested because they remain terrified that

further exposure of their unlawful practice will lead to grave repercussions,

including but not limited to being forced to halt this unlawful practice and suffer

the consequences of negative political and public exposure.

            3.     The documentation Plaintiff seeks is relevant for disproving
                   Defendants’ defenses.

      Plaintiff also intends to use documentation of Defendants’ unlawful

practices to demonstrate that any defense Defendants will raise to Plaintiff’s First

Amendment retaliation claim is mere pretext. See Bobo v. United Parcel Serv.,

Inc., 665 F.3d 741, 753 (6th Cir. 2012) (citing Culwell v. City of Fort Worth, 468

F.3d 868, 873-74 (5th Cir. 2007) for the principle that plaintiffs are entitled to

discover evidence that is relevant for proving pretext); Vanburen v. Ohio Dep’t of
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Public Safety, No. 2:11-CV-1118, 2013 WL 1990080, at *3 (S.D. Ohio May 13,

2013), objections overruled sub nom. Van Buren v. Ohio Dep't of Pub. Safety, 996

F. Supp. 2d 648 (S.D. Ohio 2014) (holding that discovery was permitted because it

had a “bearing on the issue of pretext”). While a plaintiff in a First Amendment

retaliation case is not required to show pretext, such a showing supports the

credibility of his case, and undercuts the credibility of the defendant’s defense. See

Dye v. Office of the Racing Com’n, 702 F.3d 286, 296 (6th Cir. 2012) (holding that

district court erred in granting summary judgment on plaintiff’s First Amendment

retaliation claims because plaintiff presented evidence showing that defendant’s

defenses were pretextual).3 Documentation of Defendants’ unlawful practices will

decrease the credibility of any of Defendants’ defenses that they were not

retaliating against Plaintiff for protesting the unlawful LEIN access and unlawful

arrest warrant requests.

               4.     Plaintiff’s requests are not unduly burdensome.

       To the extent that Defendants object to producing these documents because

it is overly burdensome, this objection fails. First, Defendants failed to raise this

objection in response to Plaintiff’s discovery requests. See Ex. A, Defendants’

Responses to Plaintiff’s First Set of Discovery Requests. Therefore, pursuant to
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        Additionally, there is a “general rule” that “[w]here relevant information . . . is in the
possession of one party and not provided, then an adverse inference may be drawn that such
information would be harmful to the party who fails to provide it.” McMahan & Co. v. Po Folks,
Inc., 206 F.3d 627, 632-33 (6th Cir. 2000).

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Fed. R. Civ. P. 34(b)(2), this objection is waived. See Fed. R. Civ. P. 34(b)(2)(B)

& (C) (the response must state “with specificity the ground for objecting to the

request, including the reasons,” and “[a]n objection must state whether any

responsive materials are being withheld on the basis of that objection”); PML N.

America, LLC v. World Wide Personnel Servs. of Va., No. CIV.A. 06CV14447-

DT, 2008 WL 1809133, at *1 (E.D. Mich. Apr. 21, 2008) (holding that defendants

waived objections to plaintiff’s discovery requests because even a boilerplate

objection in a discovery response is “tantamount to filing no objections at all”); see

also Hall v. Sullivan, 231 F.R.D. 468, 473-74 (D. Md. 2005) (failure to object with

particularity to document production request waives objection); Krewson v. City of

Quincy, 120 F.R.D. 6, 7 (D. Mass. 1988) (same).

      Second, even if the Court considers this purported defense, the objection still

fails on its merits. Plaintiff maintained an Excel document which tracked the dates

and names for each civil child support summonses issued and expired, as well as

the dates and names for each arrest warrant for disorderly person nonsupport which

was requested. Ex. D, Chuchran Dep. 263:10-25 (“I created a spreadsheet for the

date, the name that was ran, who it was for and the reason.” And “I gave [the Excel

spreadsheet] to every one of the LEIN operators, [Deputy Chief Investigator] Craig

[Keith], Michelle and myself.”) Defendants are well aware of this fact, as they are

in possession of the document, and Plaintiff testified about this spreadsheet during

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his deposition Defendants took in the related state court action.                       See id.

Accordingly, Defendants need not individually review hundreds of records to

locate the relevant civil summonses or arrest warrant requests. Rather, a detailed

and organized document, which Plaintiff created while he was employed by

Defendants, tracks all of the relevant information requested. Defendants can easily

use this document as a guide when locating the relevant documents requested.

IV.    CONCLUSION

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter an Order compelling Defendants to answer and respond to Plaintiff’s First

Set of Interrogatories and Requests to Produce Documents to Defendants, and

enter costs and attorney fees 4 for preparing and appearing for this Motion.

Dated: October 31, 2017                          DEBORAH GORDON LAW
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4
        If a court grants a Rule 37 motion to compel, then the court must award reasonable
expenses and attorney fees to the successful party, unless the successful party did not confer in
good faith before the motion, the opposing party’s position was substantially justified, or other
circumstances would make an award unjust. See Fed. R. Civ. P. 37(a)(5)(A). Here, Plaintiff
conferred with Defendants but Defendants have maintained an unjustified position. Accordingly,
costs and fees are appropriate in this case.
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                       CERTIFICATE OF SERVICE

      I hereby certify that on October 31, 2017 I electronically filed with the
foregoing Motion to Compel Discovery, Brief and Exhibits with the Clerk of the
Court using the ECF system which will send notification of such filing to all
counsel of record.
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